        Case 2:14-cv-06727-PBT Document 253 Filed 08/14/17 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

GARY WILLIAMS, et al.,                         :
                                               :
              Plaintiffs,                      :
                                               :         CIVIL ACTION
              v.                               :
                                               :         NO. 14-6727
K&B TRANSPORTATION INC.,                       :
                                               :
              Defendant.                       :

                                          ORDER

       AND NOW, this _14th____ day of August, 2017, upon consideration of Plaintiffs’

Petition to Approve Allocation Between Plaintiff Gary Williams’ Personal Injury Claim and

Plaintiff Nina Williams’ Loss of Consortium Claim (Doc. 252), IT IS HEREBY ORDERED

AND DECREED that the requested allocation of settlement proceeds is GRANTED, allocating

90% of the proceeds to Gary Williams’ personal injury claim and 10% of the proceeds to Nina

Williams’ loss of consortium claim.



                                                         BY THE COURT:

                                                         /s/ Petrese B. Tucker
                                                         _____________________________
                                                         Hon. Petrese B. Tucker, U.S.D.J.
